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                    EXHIBIT 65
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  From :                                          Doug Boothe
  Sent:                                           Wednesday, March 11, 2009 1:05 PM
  To:                                             Nathalie Leitch; Kevin Bain; Terrence Fullem
  Cc:                                             Matthew Berkie; Stephen Gallagher
  Subject:                                        RE: Triple i co-pay program


  My only reservation is on the 'mass' distribution - up to 9,000 physicians and 250+K cards.




  The physician segmentation at less than 4000 physicians generate 70% of the scripts (50% of scripts is under 2K
  physicians)




  I think the general sense is that the vast majority of these are lost in physicians offices, etc. - but it is still a significant
  potential for redemptions.




  If our costs are 'only' $50 co-pay per use - I guess we'd be overjoyed with extremely high utilization rates.




  The initial program development cost is amortized over more units - so not an issue.




  How much of the cost is due to mailing/emailing to the physicians 4000-9000 which are potentially quite marginal?




  Either way - I'd rather proceed as proposed than spend another few weeks analyzing ....




  DB



                                                                                                                                  EXHIBIT ~othe.._
  Douglas Boothe                                                                                                                  Wl'T:fil.JM'Yl ~
  Chief Executive Officer                                                                                                         OA'TE: _ J - I J- l 'j _
                                                                                                                                  Marie Foley, RMR, CRR
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  From: Nathalie Leitch
  Sent: Wednesday, March 11, 2009 3:40 PM
  To: Kevin Bain; Doug Boothe; Terrence Fullem
  Cc: Matthew Berkie; Stephen Gallagher
  Subject: Triple i co-pay program




  All-




  The Triple I agreement is undergoing one last internal review. I wanted to provide you with a quick overview of the
  program workings and expected costs prior to signing.




  Overview:




         •    Objectives: To increase new therapy starts and script volume, and increase average length of therapy
              (persistence)
         •    9000 physicians targeted. Targeted physicians are those who have patients who have used the cards in the
              past. List of docs taken from ALO/Dendrite files
         •    Each physician in the targeted file will receive a call from a customer service rep at Triple I to communicate
              acquisition of Kadian by Actavis and launch of new card program. Calls were initiated today
         •    43,000 pharmacies will receive an email introducing the new program. Emails will be sent 03/16/09
         •    270,000 cards to be distributed to physicians' offices in 3 separate mailings (actual distribution cycle/method TBD,
              but approximately April, Jul and October), 10,000 cards placed in inventory for fulfillment of physician requests
         •    Patients can also request a card directly from Triple I by calling their customer service line, or by
              completing/submitting a registration form available on the KADIAN website
         •    Cards can be used up to 2x per month up to a max of 12 uses. The value of the card per use is up to $50.
         •    All cards expire 12/31 /09




  Triple I has estimated total program expenses at $2.SM as follows:




         •    Reimbursement/processing expense: $2.25M
         •    Program set-up and administration: $321 K (majority relates to production costs and will be payable during 01)




  The $2.25M figure is an estimate and is based on an assumed redemption rate as follows:

                                                                                      2



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      •    Number of cards printed: 280,000
      •    Assumed redemption rate: 10% (i.e. 28,000 cards)
      •    Of these 28,000 cards initially redeemed, 30% will be used a second time - leading to 8,400 redemptions
      •    Of these, 50% will be used a third time, for 4,200 redemptions, etc.
      •    Applying this approach for a max of 12 redemptions results in total redemptions of 44,792 redemptions
      •    Average co-pay reimbursement of $48 + pharmacy handling fees




  Based on results of the Dendrite/ALO co-pay program, I think the total estimated redemption expense of $2.25M is
  realistic however I don't necessarily agree with Triple l's assumptions. For example, I believe that a higher proportion of
  cards will initially be redeemed (i.e. >10%) but each card re-used fewer times. The product managers at Alpharma
  communicated the following:




      •    Initial redemption rates were high but subsequent redemptions were significantly lower
      •    Explanation: there is a lot of turnover in the marketplace, i.e. switching from therapy to therapy (e.g. some
           physicians believe in a rotation of opioid therapies)
      •    50% of patients are new to Kadian on a monthly basis (a portion of these new to the market, the majority switched
           from another product)




  I've attached a spreadsheet showing results of the ALO program plus how I think the Actavis program will play out based
  on ALO performance.




  Keep in mind; we can control the number of cards that are distributed to the field and thus total redemption expense.




  Let me know if you have any questions.




                                                                3




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